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#1220500                                                                                                   0584-20133


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


PATRICK KNOX                                               C.A. NO. 2:16-cv-13350 JCA-MBN
      PLAINTIFF

v.
                                                           JUDGE ZAINEY
BISSO MARINE, LLC
       DEFENDANT

COASTAL TOWING, LLC             MAGISTRATE JUDGE NORTH
  DEFENDANT AND CROSS-PLAINTIFF

REC MARINE LOGISTICS, LLC
AND A & A BOATS, INC.

         DEFENDANTS AND CROSS-
         DEFENDANTS


     ANSWER TO INTERVENOR, PATRICK KNOX’S ORIGINAL COMPLAINT AND
     CROSS CLAIM AGAINST BISSO MARINE, LLC AND COASTAL TOWING, LLC

           NOW INTO COURT, through undersigned counsel comes REC Marine Logistics, LLC

(“REC”), to respond to the allegations of Intervenor/Plaintiff,1 Patrick Knox’s Original

Complaint (“Complaint”) as follows:

                                   FIRST AFFIRMATIVE DEFENSE

         The Complaint fails to state a claim against REC upon which relief can be granted.




1
  This action began as a Complaint for Declaratory Judgment by Coastal Towing seeking contribution and indemnity
from REC for the maintenance and cure it paid to its employee Patrick Knox. (Rec. Doc. 1). Knox intervened in this
lawsuit (Rec. Doc. 18-20), and filed a Motion to Realign the parties which was granted on January 5, 2017 (Rec.
Doc. 23). Therefore, Patrick Knox is now the plaintiff in this lawsuit, Coastal Towing, formerly the plaintiff, is now
a defendant and cross claim plaintiff.

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                               SECOND AFFIRMATIVE DEFENSE

          The Complaint is barred by the applicable period of prescription, statute of limitations, or

laches.

                                THIRD AFFIRMATIVE DEFENSE

          And now, without waiving any of the foregoing defenses, REC responds to the allegations

of Patrick Knox’s Complaint, categorically, and by paragraph as follows:

                                                1.

          The allegations in Paragraph 1 state a legal conclusion and therefore require no response.

To the extent a response is deemed required, REC denies the allegations in Paragraph 1.

                                                2.

          The allegations in Paragraph 2 state a legal conclusion and therefore require no response.

To the extent a response is deemed required, REC denies the allegations in Paragraph 2.

                                                3.

          The allegations in Paragraph 3 state a legal conclusion and therefore require no response.

To the extent a response is deemed required, REC denies the allegations in Paragraph 3.

                                                4.

          The allegations in Paragraph 4 state a legal conclusion and therefore require no response.

To the extent a response is deemed required, REC denies the allegations in Paragraph 4.

                                                5.

          REC denies the allegations contained in Paragraph 5 for lack of information sufficient to

justify a belief therein.




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                                              6.

        REC denies the allegations contained in Paragraph 6 for lack of information sufficient to

justify a belief therein.

                                              7.

        REC admits that it is a limited liability company with its principal place of business in Cut

Off, Louisiana. REC further admits that it is licensed to and is doing business in the State of

Louisiana. REC further admits that it has appeared and answered the Complaint for Declaratory

Judgment filed by Coastal Towing, LLC in this action. Except as expressly admitted herein, REC

denies the allegations contained in Paragraph 7 for lack of information sufficient to form a belief

therein.

                                              8.

        REC denies the allegations contained in Paragraph 8 for lack of information sufficient to

justify a belief therein. Upon information and belief, A&A Boats, Inc. did not appear in this

litigation and has been dismissed from this litigation by Coastal Towing, LLC.

                                              9.

        REC denies the allegations contained in Paragraph 9 for lack of information sufficient to

justify a belief therein.

                                              10.

        REC admits that it owns the vessel the M/V MS JANE, USCG Doc. No. 588935,

incorrectly identified by Knox as the M/V Miss Jane. Except as expressly admitted, REC denies

the allegations in Paragraph 10 for lack of information sufficient to justify a belief therein. REC

expressly denies that it acted negligently and/or in any way caused Knox’s alleged injury.




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                                             11.

        REC denies the allegations in Paragraph 11 for lack of information sufficient to justify a

belief therein.

                                             12.

        REC denies the allegations in Paragraph 12 for lack of sufficient information to justify a

belief therein. REC expressly denies that it acted negligently and/or in any way caused Knox’s

alleged injuries.

                                             13.

        The allegations in Paragraph 13 call for a legal conclusion and therefore no response is

required. To the extent a response is required, REC denies the allegations in Paragraph 13.

                                             14.

        The allegations in Paragraph 14 call for a legal conclusion and therefore no response is

required. To the extent a response is required, REC denies the allegations in Paragraph 14.

                                             15.

        REC denies the allegations in Paragraph 15 for lack of sufficient information to justify a

belief therein. REC expressly denies that it acted negligently and/or in any way caused Knox’s

alleged injury.

                                             16.

        To the extent the allegations in Paragraph 16 call for a legal conclusion, no response is

required. To the extent that a response is required, REC denies the allegations in Paragraph 16.




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                                               17.

          The allegations in the unnumbered paragraph following Paragraph 16 constitute a prayer

for relief and therefore require no response. To the extent a response is required, REC denies the

allegations in the prayer for relief.

                              FOURTH AFFIRMATIVE DEFENSE

          REC denies the allegations of any unnumbered and/or misnumbered paragraphs, any

allegations contained in the prayer for relief and any allegations contained in the Complaint which

have not heretofore been addressed.

                                FIFTH AFFIRMATIVE DEFENSE

          The alleged accident claimed by Knox, and any claimed injuries or damages (if any) were

the result of the fault and/or neglect of Knox, the particulars of which will be shown at trial of this

matter and which fault and/or neglect are pleaded as a bar and/or in diminution of Knox’s recovery

herein.

                               SIXTH AFFIRMATIVE DEFENSE

          REC specifically denies that it or anyone whose actions it is or may be responsible for in

any way caused or contributed to the alleged accident claimed by Knox and any injuries, damages,

and/or losses resulting therefrom (if any); on the contrary, such alleged injuries, damages, and/or

losses were caused by the fault and/or neglect of Knox, Bisso Marine, LLC (“Bisso”), Coastal

Towing, LLC (“Coastal Towing”), and/or other persons or parties for whom REC cannot be held

responsible.

                             SEVENTH AFFIRMATIVE DEFENSE

          REC denies that the alleged accident claimed by Knox, and the claimed injuries and/or

damages (if any), were caused or contributed to by any unsafe conditions caused or created by



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REC, or by a failure to provide adequate crew members to assist with the personnel basket transfer

or a failure to give instructions to the crane operator.

                               EIGHTH AFFIRMATIVE DEFENSE

       If Knox sustained any injuries or illness, which is specifically denied, then said illness or

injury was caused by and/or contributed to and/or aggravated by the negligence of Knox or others

for whom REC is in no way responsible. Specifically, REC avers that Knox, Coastal Towing,

Bisso, or others for whom REC was in no way responsible were negligent or at fault in the

following particulars, but not limited to:

            1. Failing to properly train and supervise its employees in conducting personnel

            basket transfers;

            2. Failing to operate in a reasonably safe manner;

            3. Negligently supervising the basket transfer;

            4. Failing to properly operate and/or maintain the crane involved in the personnel

            basket transfer;

            5. Failing to give adequate and proper instructions to the crane operator and/or the

            personnel aboard the personnel basket; and

            6. Failing to keep the M/V MIGHTY CHIEF in a condition such that a helicopter

            could land without further need to transport Knox via personnel basket.

                                NINTH AFFIRMATIVE DEFENSE

       REC avers that Knox’s alleged accident and/or claimed injuries and/or damages (if any)

resulting therefrom were not a foreseeable consequence of any act or omission on the part of REC

or anyone from whom REC may be held responsible.




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                              TENTH AFFIRMATIVE DEFENSE

        REC avers that Knox’s alleged accident and any claimed injuries and/or damages resulting

therefrom (if any), were the result of the usual and normal risks of Knox’s occupation and/or were

inherent in the activities being performed by him at the time of the alleged accident, which risks

were assumed by Knox.

                            ELEVENTH AFFIRMATIVE DEFENSE

        REC avers that Knox’s claimed injuries and/or damages pre-existed and/or are otherwise

unrelated to the alleged accident in this suit.

                            TWELFTH AFFIRMATIVE DEFENSE

        REC expressly denies that it is liable to Knox for any amount of damages that he may have

suffered.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        REC avers that Knox has failed to mitigate his damages and his recovery is thus herein

defeated or reduced.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        In the event REC is found responsible in any way for Knox’s injuries, which is expressly

denied, REC avers that it is entitled to have the fault of Knox, Bisso, and/or Coastal Towing as

well as the fault of any and all other parties and non-parties quantified and allocated and any

amounts found owing to Knox be reduced to the extent of such fault.




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                           FIFTEENTH AFFIRMATIVE DEFENSE

       In the event REC is found responsible in any way for Knox’s injuries, which is denied,

REC is entitled to a set off from any recovery against it to the extent of any and all benefits or

monies paid or payable to or on behalf of plaintiff from any sources.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       REC avers that any negligence for which it is allegedly responsible, such negligence is

specifically denied, was in no way connected to the injuries and/or illness for which Knox is

seeking recovery herein.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

       Without waiving the above and foregoing, REC avers that if Knox suffered damage and/or

injury, Knox’s damages and/or injuries arose as the result of a pre-existing and/or subsequently

developed physical and/or mental condition which were neither caused nor aggravated by any act

or omission by REC, thus barring or mitigating any recovery by Knox for any damages herein.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

       REC avers that Knox cannot properly intervene as a party in this lawsuit and, as such, his

Complaint is improper.

                           NINETEENTH AFFIRMATIVE DEFENSE

       REC avers that it is entitled to exonerate or limit its liability under the limitation of Vessel

Owner’s Liability Act of 1851, 46 U.S.C.A. § 30501, et seq., should REC be liable unto Knox in

any regard, which is specifically denied. REC in no way waives its right to pursue limitation as a

defense in any subsequent proceeding in any court of competent jurisdiction.




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                               TWENTIETH AFFIRMATIVE DEFENSE

         REC reserves its right to supplement, amend, or modify its affirmative defenses and/or

answers to conform to such facts as may be revealed in discovery or otherwise.

                  REC MARINE LOGISTICS, LLC’S CROSS CLAIMS
              AGAINST COASTAL TOWING, LLC AND BISSO MARINE, LLC

         NOW INTO COURT comes REC Marine Logistics, LLC and files this Cross Claim

against Coastal Towing, LLC and Bisso Marine, LLC and would respectfully aver as follows:


          CLAIMS FOR DEFENSE AND INDEMNITY AGAINST BISSO MARINE

                                                      18.

         Made Cross Claim Defendant herein is Bisso Marine, LLC (“Bisso”) which is now, and at

all relevant times hereto, a limited liability company organized and existing under the laws of the

State of Louisiana, with its principal place of business in New Orleans, Louisiana, and at all

relevant times, performing business within the State of Louisiana and within this federal district.

                                                      19.

         Cross Claim Plaintiff, REC Marine Logistics, LLC (“REC”), is a limited liability company

with its principal place of business in Cut Off, Louisiana, and at all relevant times, performing

business within the State of Louisiana and within this federal district.

                                                      20.

         Coastal Towing, LLC (“Coastal Towing”) 2 has filed a Complaint for Declaratory Judgment

naming REC as a defendant seeking contribution or indemnity for amounts Coastal Towing paid




2
  This action began as a Complaint for Declaratory Judgment by Coastal Towing seeking contribution and indemnity
from REC for the maintenance and cure it paid to its employee Patrick Knox. (Rec. Doc. 1). Knox intervened in this
lawsuit (Rec. Doc. 18-20), and filed a Motion to Realign the parties which was granted on January 5, 2017 (Rec.
Doc. 23). Therefore, Patrick Knox is now the plaintiff in this lawsuit, Coastal Towing, formerly the plaintiff, is now
a defendant and cross claim plaintiff.

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to its employee Patrick Knox in maintenance and cure as a result of Knox’s alleged personal

injuries purported to have occurred on July 18, 2014, while Knox was being transferred from the

M/V TRENT JOSEPH to the L/B MIGHTY CHIEF and then to the M/V MS JANE after allegedly

taking ill aboard the M/V TRENT JOSEPH.

                                              21.

       Patrick Knox has filed a Motion to Intervene and an “Original Complaint” (Rec. Doc. 18-

20) asserting that REC is directly liable to Knox for his alleged injuries because of REC’s alleged

negligence and the alleged unseaworthiness of the M/V MS JANE for the events described in

Paragraph 20.

                                              22.

       REC has denied any and all liability to both Knox and Coastal Towing as more fully set

forth in its Answer to Coastal Towing’s Complaint for Declaratory Judgment (Rec. Doc. 6), and

in its Answer to Knox’s Complaint in Paragraphs 1-17 herein, the contents of which are

incorporated herein by reference thereto as if copied herein in extenso.

                                              23.

       To the extent that REC may be held responsible to Coastal Towing and/or Knox for any of

Knox’s alleged injuries and/or for contribution or indemnity for amounts Coastal Towing paid to

Knox for maintenance and cure, REC is entitled to defense and indemnity from Bisso pursuant to

the Master Time Charter between Bisso and Kilgore Marine Services, LLC (“Kilgore”) which was

in effect at the time of Knox’s alleged injury. Kilgore entered into the Master Time Charter with

Bisso as REC’s agent.




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                                             24.

       On May 6, 2014, REC entered into a Brokerage Agreement with Kilgore which authorized

Kilgore to enter into charters or similar contracts for REC’s vessels on behalf of REC wherein

REC would be the principal and actually carry out the contract.

                                             25.

       Kilgore entered into a time charter with Bisso under a December 18, 2010 Master Time

Charter and on hire agreement under that Master Time Charter (the “Agreement”) pursuant to its

authority to act as REC’s agent. REC was always intended to carry out the Agreement in effect on

July 18, 2014. This Agreement obligated REC to provide a vessel and other services to Bisso on

or about July 18 or 19, 2014.

                                             26.

       Upon information and belief, the Master Time Charter was in effect at the time that Knox

was allegedly injured.

                                             27.

       REC, as the principal for Kilgore, may enforce the Master Time Charter as if it was a

named party to the contract under general agency principles.

                                             28.

       The Master Time Charter provides certain indemnity and hold harmless obligations owed

by Bisso to the “Owner.” The term “Owner” refers to Kilgore, or in this instance, to REC because

REC is Kilgore’s principal. The indemnity provision in Section 16 reads in pertinent part:


       Charterer [Bisso] agrees to defend, hold harmless and indemnify Owner [REC], its
       parent and affiliated companies, their officers, directors, agents, employees,
       members, managers and representatives (“OWNER GROUP”) from and against
       any and all claims for personal injury, death or property damages brought by



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       [Bisso] . . . and/or those employees, agents, servants or representatives of Other
       Contractors . . . .

                                             29.

       Bisso is obligated to defend and indemnify REC because REC is Kilgore’s principal and

therefore is the “Owner” under this indemnity provision.

                                             30.

       Indemnity is owed in this particular instance because Coastal Towing and Knox’s claims

arise out of the alleged personal injury of Knox, an employee of Coastal Towing at the time of the

alleged incident. Coastal Towing is an “Other Contractor” under the Master Time Charter. Section

16 states that Owner understands that Bisso “will enter into contracts with other oilfield service

companies (hereby defined as Other Contractors).”

                                             31.

       Coastal Towing is considered an “Other Contractor” because Bisso entered into a Master

Subcontractor’s Agreement with Dawn Services, LLC (“Dawn Services”) for Dawn Services to

perform certain activities and Dawn Services in turn subcontracted to Coastal Towing to perform

some of its obligations and Knox is an employee of Coastal Towing.

                                             32.

       REC has made amicable demand upon Bisso, but Bisso has refused to provide REC with

the required defense and indemnity.

                                             33.

       REC has incurred costs and expenses, including, but not limited to, attorneys’ fees, in

defending against Coastal Towing and Knox’s claims, and REC is entitled to recover these costs

under the Master Time Charter as well as under law.




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              CLAIMS AGAINST BISSO MARINE, LLC AND COASTAL
               TOWING, LLC FOR CONTRIBUTION AND INDEMNITY
            TO REC FOR KNOX AND COASTAL TOWING, LLC’S CLAIMS

                                              34.

        If, as Knox alleges, his injuries were in fact caused by his personnel basket transfers

between the TRENT JOSEPH, the MIGHTY CHIEF, and the MS JANE, then to the extent that

REC may be found liable to Coastal Towing and Knox, Bisso is liable to REC for full contribution

and/or full indemnity. To the extent that REC may be found liable to Knox, Coastal Towing is

liable to REC for contribution.

                                              35.

        Made Cross Claim Defendant herein is Coastal Towing, LLC (“Coastal Towing”) which

is now, and at all relevant times hereto, a limited liability company organized and existing under

the laws of the State of Louisiana, with its principle place of business in Galliano, Louisiana, and

at all relevant times, performing business within the State of Louisiana and within this federal

district.

                                              36.

        The events described in paragraphs 37 through 41 are pleaded based on a written statement

by Knox about his alleged injuries. Nothing in this pleading shall be construed as an admission by

REC that the events occurred in the manner described by Knox in his written statement, that Knox

suffered any injuries, and/or that REC is in any way liable for any alleged injuries to Knox.

However, should the Court find that an accident occurred as alleged by Knox at the trial of this

matter, Bisso and Coastal Towing are liable to REC for contribution and/or indemnity for any

amount that REC is found liable.




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                                            37.

        Knox had apparently taken ill while working as a mate aboard the TRENT JOSEPH, a

vessel owned by Coastal Towing, on or about July 18, 2014. Knox was informed that he would be

transferred to the MIGHTY CHIEF to be transported via helicopter to the hospital for treatment of

his illness.

                                            38.

        Knox was allegedly transported via personnel basket from the TRENT JOSEPH to the

MIGHTY CHIEF, a vessel owned and apparently operated by Bisso. During his transfer from the

TRENT JOSEPH via personnel basket, Knox allegedly hit various objects on the deck of the

TRENT JOSEPH as a result of the actions of the crane operator onboard the MIGHTY CHIEF.

Upon information and belief the crane used to transport Knox to the MIGHTY CHIEF in the

personnel basket was owned by Bisso and operated by an employee of Bisso.

                                            39.

        According to Knox a helicopter attempted to land on the MIGHTY CHIEF but was unable

to land on the vessel because the helipad was rusty and the deck was too cluttered to allow the

helicopter to land on deck. As a result, Knox apparently was required to be transferred to the MS

JANE so that he could be transported to a nearby platform to board a helicopter to be evacuated.

                                            40.

        Upon information and belief, an employee of Bisso operated the crane that transported

Knox from the MIGHTY CHIEF to the MS JANE. Upon information and belief, the crane operator

was negligent in his operation of the crane causing Knox to be ejected from the personnel basket

onto the deck of the MS JANE and then hit by the personnel basket.




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                                                41.

        Upon information and belief, but for the Bisso crane operator’s negligence, Knox would

not have been injured.

                                                42.

        Bisso is liable for negligence for the actions of its crane operator and the unseaworthiness

of its vessel, the MIGHTY CHIEF. Therefore, in the event that REC is found liable to Knox or

Coastal Towing, REC is entitled to full contribution and/or full indemnity from Cross Claim

Defendant, Bisso.

                                                43.

        Coastal Towing is also liable for the unseaworthiness of the TRENT JOSEPH and

negligence for its role in the personnel basket transfer, including but not limited to the specific acts

or omissions of negligence in the Eighth Affirmative Defense herein. Therefore, in the event that

REC is found liable to Knox, REC is entitled to full contribution and/or full indemnity from Cross

Claim Defendant, Coastal Towing.

        WHEREFORE, REC Marine Logistics, LLC prays that:

    (1) its Answer to Knox’s Original Complaint and its Affirmative Defenses be deemed good

    and sufficient and, that after due proceedings are had, there be judgment herein in favor of

    REC Marine Logistics, LLC and against Patrick Knox dismissing his Original Complaint;

    (2) its Cross Claims against Bisso Marine, LLC and Coastal Towing, LLC be deemed good

    and sufficient and, that after due proceedings are had, there be judgment herein in favor of

    REC Marine Logistics, LLC, and against Bisso Marine, LLC and Coastal Towing, LLC;

    (3) that there be judgment herein in REC Marine Logistics, LLC’s favor and against Bisso

    Marine, LLC, ordering Bisso Marine, LLC to defend and indemnify, insure, and hold REC



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Marine Logistics, LLC harmless against any and all claims asserted against it by Coastal

Towing, LLC and Patrick Knox and to pay all costs and expenses including, but not limited

to, reasonable attorneys’ fees incurred by REC Marine Logistics, LLC as a result of Bisso

Marine, LLC’s failure to undertake to defend, indemnify, insure, and hold harmless REC

Marine Logistics, LLC pursuant to the applicable contractual and insurance obligations;

(4) should REC Marine Logistics, LLC be found to be liable to Knox for the damages he

alleges, that this Honorable Court enter judgment of indemnity and/or contribution against

Bisso Marine, LLC and Coastal Towing, LLC and in favor of REC Marine Logistics, LLC;

(5) should REC Marine Logistics, LLC be found liable to Coastal Towing for the damages

that it alleges in its Complaint for Declaratory Judgment, that this Honorable Court enter

judgment of indemnity and/or contribution against Bisso Marine, LLC and in favor of REC

Marine Logistics, LLC;

(6) that REC Marine Logistics, LLC be granted such other and further relief as equity and the

justice of the cause may require and permit.


                         Respectfully submitted,


                         /s/    Salvador J. Pusateri
                         SALVADOR J. PUSATERI, T. A. (#21036)
                         KYLE A. KHOURY (#33216)
                         ELIZABETH B. MCINTOSH (#36575)
                         PUSATERI, BARRIOS, GUILLOT & GREENBAUM, LLC
                         1100 Poydras Street
                         Energy Centre – Suite 2250
                         New Orleans, Louisiana 70163
                         Telephone: (504) 620-2500
                         Facsimile: (504) 620-2510
                         Salvador.Pusateri@pbgglaw.com
                         Kyle.Khoury@pbgglaw.com
                         Elizabeth.McIntosh@pbgglaw.com
                         Attorneys for REC Marine Logistics, LLC


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                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 13th day of January, 2017, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to those who are on the list to receive e-mail notices for this case, have enrolled in this Court’s
CM/ECF program and otherwise consented to receive notice and service via CM/ECF. I further
certify that I mailed the foregoing document and the notice of electronic filing by first-class mail
to all non-CM/ECF participants.

                              ___/s/ Salvador J. Pusateri________




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